Case 3:18-bk-01760   Doc 15   Filed 05/14/18 Entered 05/14/18 16:37:07   Desc Main
                              Document     Page 1 of 8
Case 3:18-bk-01760   Doc 15   Filed 05/14/18 Entered 05/14/18 16:37:07   Desc Main
                              Document     Page 2 of 8
Case 3:18-bk-01760   Doc 15   Filed 05/14/18 Entered 05/14/18 16:37:07   Desc Main
                              Document     Page 3 of 8
Case 3:18-bk-01760   Doc 15   Filed 05/14/18 Entered 05/14/18 16:37:07   Desc Main
                              Document     Page 4 of 8
Case 3:18-bk-01760   Doc 15   Filed 05/14/18 Entered 05/14/18 16:37:07   Desc Main
                              Document     Page 5 of 8
Case 3:18-bk-01760   Doc 15   Filed 05/14/18 Entered 05/14/18 16:37:07   Desc Main
                              Document     Page 6 of 8
Case 3:18-bk-01760   Doc 15   Filed 05/14/18 Entered 05/14/18 16:37:07   Desc Main
                              Document     Page 7 of 8
Case 3:18-bk-01760   Doc 15   Filed 05/14/18 Entered 05/14/18 16:37:07   Desc Main
                              Document     Page 8 of 8
